                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                            DOCKET NO. 3:13-cr-00204-MOC-DSC

UNITED STATES OF AMERICA,                      )
                                               )
                                               )
                                               )
Vs.                                            )                       ORDER
                                               )
BOGGS PAVING, INC., et al.,                    )
                                               )
                 Defendants.                   )



       THIS MATTER is before the court on the government’s Motion to Correct Indictment.

Having considered the government’s motion and reviewed the pleadings, and having determined

that the proposed corrections are not substantive and relate only to form, United States v.

Whitfield, 695 F.3d 288 (4th Cir. 2012), the court enters the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that the government’s Motion to Correct Indictment

(#9) is GRANTED, and the government is granted leave to file its First Amended Bill of

Indictment.

              Signed: August 1, 2013




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